Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 1 of 39   PageID #: 18885




                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MAINE


  MAINE PEOPLE’S ALLIANCE and
                           )
  NATURAL RESOURCES DEFENSE)
  COUNCIL, INC.,           )
                           )
           Plaintiffs,     )
                           )
      v.                   )                     Case No. 1:00-cv-00069-JAW
                           )
  HOLTRACHEM MANUFACTURING )
  COMPANY, LLC and         )
  MALLINCKRODT US LLC,     )
                           )
           Defendants.     )
                           )

                        PLAINTIFFS’ PREHEARING BRIEF
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 2 of 39                                                         PageID #: 18886




                                                   TABLE OF CONTENTS

  TABLE OF AUTHORITIES ........................................................................................................ iii

  I.       Introduction ...................................................................................................................... 1

  II.      Factual and Procedural Background ............................................................................. 2

           A.         Case origin and liability trial .............................................................................. 2

           B.         Phase I and II studies ........................................................................................... 4

           C.         Closure of lobster fishery and black duck warning ........................................ 5

           D.         Remedy trial and decision .................................................................................. 6

           E.         Phase III Engineering Study ............................................................................... 7

           F.         Post-Phase III Study discovery and pre-trial work ......................................... 8

           G.         Settlement negotiations ....................................................................................... 9

           H.         Summary of Proposed Consent Decree .......................................................... 10

  III.     Standard of Review........................................................................................................ 13

  IV.      The Proposed Consent Decree should be approved ................................................. 16

           A.         The Proposed Consent Decree is fair .............................................................. 16

           B.         The Proposed Consent Decree is consistent with RCRA’s
                      remedial purpose ............................................................................................... 17

           C.         The Proposed Consent Decree is reasonable and adequate ........................ 17

                      1.         Targeted active remediation is necessary ........................................... 18

                      2.         Orrington capping ................................................................................. 19

                      3.         Mobile sediment and surface deposit removal.................................. 21

                      4.         Orland River and East Channel around Verona Island ................... 24

                      5.         Beneficial environmental projects........................................................ 25

                      6.         Long-term monitoring ........................................................................... 27




                                                                       i
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 3 of 39                                                     PageID #: 18887




                   7.         The trusts and project administration ................................................. 28

                   8.         The Parties’ proposed remediation program strikes
                              a reasonable balance .............................................................................. 29

        D.         Injunctive relief continues to be justified........................................................ 31

  V.    Conclusion ...................................................................................................................... 32




                                                                   ii
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 4 of 39                                                      PageID #: 18888




                                                TABLE OF AUTHORITIES

                                                                  Cases

  Calvary Chapel of Bangor v. Mills,
         459 F. Supp. 3d 273 (D. Me. 2020) .................................................................................27

  Calvary Chapel of Bangor v. Mills,
         984 F.3d 21 (1st Cir. 2020)...............................................................................................27

  City of Bangor v. Citizen Commc’ns Co.,
          No. 02-cv-183-B-S, 2007 WL 1557426 (D. Me. May 25, 2007) ...................................14

  City of Bangor v. Citizens Commc’ns Co.,
          532 F.3d 70 (1st Cir. 2008)...................................................................................13, 14, 15

  Conservation Law Found. of New England, Inc. v. Franklin,
        989 F.2d 54 (1st Cir. 1993)...............................................................................................13

  Durrett v. Housing Auth. of Providence,
        896 F.2d 600 (1st Cir. 1990).............................................................................................14

  Emhart Indus., Inc. v. U.S. Dep’t of the Air Force,
        988 F.3d 511 (1st Cir. 2021).......................................................................................13, 14

  Healey v. Spencer,
         765 F.3d 65 (1st Cir. 2014)...............................................................................................31

  Maine People’s All. v. Mallinckrodt, Inc.,
        471 F.3d 277 (1st Cir. 2006).......................................................................................31, 32

  Meghrig v. KFC W., Inc.,
        516 U.S. 479 (1996) .........................................................................................15, 16, 17, 30

  United States v. Cannons Eng’g Corp.,
         899 F.2d 79 (1st Cir. 1990).......................................................................14, 15, 16, 17, 30

  United States v. Charles George Trucking, Inc.,
         34 F.3d 1081 (1st Cir. 1994).......................................................................................14, 17

                                                                Statutes

  42 U.S.C. § 6902(b).................................................................................................................16, 17

  42 U.S.C. § 6972(a)(1)(B) .........................................................................................................3, 17



                                                                     iii
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 5 of 39                                                      PageID #: 18889




  42 U.S.C. § 9601 et seq................................................................................................................. 13




                                                                     iv
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 6 of 39             PageID #: 18890




  I.    Introduction

        Dangerous, widespread mercury contamination from a former chlor-alkali plant

  in Orrington has haunted the Penobscot River Estuary for more than 50 years. Plaintiffs

  Maine People’s Alliance and Natural Resources Defense Council filed this case two

  decades ago to secure a cleanup. In the intervening years, the Court held two bench

  trials, twice found that the mercury contamination may present an imminent and

  substantial endangerment to health and the environment, and ordered three phases of

  rigorous, independent scientific and engineering studies to evaluate the severity of the

  problem and what can be done about it. At the conclusion of those studies, in 2013 and

  again in 2018, the Court-appointed independent experts recommended active

  remediation to speed the River’s recovery. In the meantime, their data spurred the State

  of Maine to close a portion of the lobster and crab fishery at the mouth of the River and

  to warn vulnerable residents not to eat waterfowl from the Estuary.

        After extensive, arm’s length negotiations, Plaintiffs and defendant Mallinckrodt

  US LLC filed a proposed Consent Decree in March that would settle the remaining

  issues in this case and avert a third complex, vigorously contested trial. The Proposed

  Consent Decree would establish a carefully targeted remediation program that is

  informed by the Court-ordered studies and intended to accelerate the recovery of the

  ecosystem and abate the endangerment to human health and the environment.

  Mallinckrodt would commit at least $187 million to the remediation and up to a

  maximum of $267 million if certain contingencies occur. The Proposed Consent Decree

  would bring about one of the largest environmental cleanups in Maine history, all


                                              1
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 7 of 39              PageID #: 18891




  underwritten by private funds, and the work would be supervised by experienced,

  independent remediation trustees.

           The Proposed Consent Decree is an inflection point for this case and heralds a

  rebirth for the Penobscot River Estuary. The evidence and testimony that will be

  presented at the upcoming Fairness Hearing will demonstrate that the Proposed

  Consent Decree is a fair, adequate, and reasonable solution to a complicated, enduring

  contamination problem. It appropriately balances competing concerns and interests and

  is responsive to the remedy evaluation factors prescribed by the Court. By reducing the

  present and future risks to human health and the environment posed by mercury in the

  Penobscot River Estuary, it would fulfill Plaintiffs’ purpose in bringing this case and the

  intent of Congress when it enacted the Resource Conservation and Recovery Act

  (RCRA). And it garners widespread public support in Maine. Plaintiffs urge the Court

  to approve the proposed Consent Decree and allow this much-needed remedial work to

  begin.

  II.      Factual and Procedural Background

           A.    Case origin and liability trial

           Between 1967 and 2000, the former HoltraChem chlor‐alkali plant in Orrington,

  Maine, discharged vast amounts of mercury-laden wastes into the Penobscot River.

  Order on Remediation Plan, ECF No. 829 at 2-3, 36.1 Most of the plant’s mercury

  releases occurred in the late 1960s and early 1970s, while the plant was owned and


  1Unless otherwise noted, all citations to documents filed with the Court cite to the
  original pagination in the document, not the ECF system pagination.



                                                   2
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 8 of 39              PageID #: 18892




  operated by a corporate predecessor to defendant Mallinckrodt US LLC. Id. It caused a

  pollution disaster for the Penobscot River Estuary that has lasted over 50 years.

         “Mercury is probably the most toxic element on the periodic table.” Id. at 39-40.

  When inorganic mercury is introduced to the environment, it is taken up by bacteria

  and converted into toxic organic methylmercury. Id. at 40. In the River ecosystem,

  mercury bioaccumulates in wildlife and biomagnifies up the food chain as predators eat

  their prey, concentrating mercury in predator species. Id. at 41. Mercury does not break

  down over time and can be remobilized repeatedly. Id. at 41-42.

         Mercury in the River threatens both human and ecological health. People are

  most commonly exposed to mercury through eating contaminated fish and shellfish. Id.

  at 42. When a person eats mercury-tainted shellfish, the mercury is almost completely

  absorbed through the digestive process. Id. Mercury is a potent toxin. Id. at 40-41.

  Children exposed to high mercury levels in utero suffer a host of depressed

  neurological outcomes, from slower motor speed to delays in language acquisition. Id.

         Given these dangers, Plaintiffs brought this case in April 2000 under the citizen

  suit provision of RCRA, 42 U.S.C. § 6972(a)(1)(B). Plaintiffs alleged that the Orrington

  plant’s mercury discharges, which created pervasive mercury contamination in the

  Penobscot River Estuary, may present an imminent and substantial endangerment to

  human health and the environment. ECF No. 1. For relief, Plaintiffs sought an order

  requiring an independent scientific study of mercury contamination in the Penobscot

  and the implementation of a remediation plan based on that study. Order on

  Remediation Plan, ECF No. 829 at 4.


                                               3
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 9 of 39               PageID #: 18893




         Following a liability trial in 2002, the Court (Judge Carter) found that the

  mercury in the Penobscot River may present an endangerment to public health and the

  environment under RCRA, held Mallinckrodt jointly and severally liable as “a

  dominant source” of the mercury, and ordered Mallinckrodt to fund an independent

  study of the need for, feasibility of, and elements of a remediation plan for the mercury.

  ECF No. 147 at 22, 29-31. The First Circuit affirmed in all respects. ECF No. 321 at 48.

         B.     Phase I and II studies

         The scientific study stemming from the 2002 trial lasted from 2004 to 2013. Order

  on Remediation Plan, ECF No. 829 at 4-10. It proceeded in two phases, ultimately

  resulting in a Phase I Report, ECF No. 382, an Update to the Phase I Report, ECF No.

  480, and a Final Report (“Phase II Report”), ECF Nos. 652-1—652-65. A Study Panel of

  three scientists directed the scientific work: one nominated by Mallinckrodt, one

  nominated by Plaintiffs, and a chairperson selected by the other two. ECF Nos. 166, 169.

  The Study Panel also engaged other independent scientists, including leading experts in

  mercury, hydrodynamics, and biogeochemistry. See ECF No. 814 at 5 (citing 2014 trial

  testimony); Order on Remediation Plan, ECF No. 829 at 36-37.

         The Study Panel’s Phase II Report synthesized a vast body of scientific study in

  23 chapters spanning over 1,800 pages. The Study Panel determined that the Orrington

  plant discharged six to twelve metric tons of mercury during its lifetime, primarily

  between 1967 and the early 1970s, but continuing at lower rates until the plant closed in

  2000. Phase II Report, ECF No. 652 at 1-24. The Phase II Report estimated at least nine

  metric tons of mercury remain in Estuary sediments, at concentrations ten to twenty


                                               4
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 10 of 39               PageID #: 18894




   times higher than background concentrations elsewhere in the region. Id. at ES-6. The

   Study Panel concluded that high concentrations of mercury are widely dispersed in the

   Estuary, resulting in risks for marsh birds, predatory fish and birds, and human

   consumers of ducks, eels, and lobsters. Id. It noted that, in some species, mercury

   concentrations were found “at remarkably high levels, exceeding known toxicity

   thresholds for these animals.” Id. And it concluded that the rate of natural recovery is

   slow, on the order of many decades, due to a large pool of mercury-contaminated

   mobile sediments that are trapped in and periodically transported around the Estuary

   by tides, storms, and runoff. See id. at ES-6—ES-7. Because of the continuing risks and

   slow recovery, the Study Panel unanimously recommended that the Court establish an

   active remediation program. Id. at ES-7.

          C.     Closure of lobster fishery and black duck warning

          The Phase I and II study data spurred Maine to take action to protect residents

   from the mercury pollution. The Maine Department of Marine Resources (DMR) closed

   a portion of the lobster and crab fisheries south of Verona Island “to protect the public

   health.” Order on Remediation Plan, ECF No. 829 at 52-53 (internal quotation omitted).

   After conducting its own additional sampling, DMR expanded the lobster and crab

   fishery closure area at the mouth of the River. ECF No. 1116-2. In addition, the

   Department of Inland Fisheries and Wildlife posted an advisory warning pregnant

   women and young children not to consume waterfowl from the lower Penobscot River.

   See Order on Remediation Plan, ECF No. 829 at 12; ECF No. 814 at 16 (citing 2014 trial

   evidence).


                                               5
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 11 of 39               PageID #: 18895




          D.     Remedy trial and decision

          In June 2014, the Court heard nineteen days of testimony justifying and

   critiquing the Study Panel’s Phase II Report and recommendations. Order on

   Remediation Plan, ECF No. 829 at 1, 11. The Court subsequently concluded that “the

   Penobscot River estuary continues to suffer irreparable injury from ongoing mercury

   contamination caused by Mallinckrodt” and reaffirmed the finding of an “imminent

   and substantial endangerment.” Id. at 54. The Court noted that, thirteen years after the

   2002 Court order, the “estuary remains unacceptably contaminated with mercury.” Id.

   In particular, the Court found that “the level of mercury in Mendall Marsh, in the

   Orland River, and being recirculated by the mobile [sediment] pool constitutes

   irreparable harm.” Id. at 54-55. The Court also described Maine’s closure of the lobster

   and crab fisheries as “a game-changer” and as further irreparable harm “directly related

   to the level of mercury in the Penobscot estuary.” Id. at 55.

          The Court concluded that a Phase III engineering study was essential “to

   understand the range, practicality, and cost of potential solutions.” Order on

   Remediation Plan, ECF No. 829 at 57. Citing public trust and the desirability of having

   “engineers whose loyalty runs to the Court make remedial suggestions,” the Court

   declined Mallinckrodt’s request to lead the engineering study. Id. at 58. The Court also

   declined to “artificially constrain the engineers from considering all possible

   alternatives.” Id. at 59. Instead, the Court ordered the appointment of an independent

   engineering firm to develop cost-effective remedies to clean up the mercury and

   mitigate the harm to the people, biota, and environment of the Penobscot River. Id. at 1,


                                                6
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 12 of 39                 PageID #: 18896




   61; see also ECF No. 836 at 1. The Court also set forth five evaluation factors for the

   engineering firm to consider in deriving its recommendations. Order on Remediation

   Plan, ECF No. 829 at 59; see infra Section III.

          E.     Phase III Engineering Study

          To conduct the Phase III Engineering Study, the Court appointed Amec Foster

   Wheeler, a firm now known as Wood Environment & Infrastructure Solutions (Wood).2

   Wood was jointly proposed by the Parties and Special Master following a competitive

   bidding and interview process. See ECF Nos. 836 at 2-3; 845. Wood was charged to

   develop and evaluate a suite of potential remedies and recommend a remedial plan that

   would be effective and cost-justified, or explain why, in the firm’s expert judgment,

   there is no viable remedy. ECF No. 836 at 4-5. The engineering study culminated in

   Wood’s Phase III Engineering Study Report (“Phase III Report”), ECF Nos. 972—972-2.3

          In the Phase III Report, Wood recommended a “feasible, effective, and cost-

   effective remedial strategy for the Estuary” based on the Court’s evaluation criteria.

   Phase III Report, ECF No. 972 at ES-2. Wood recommended a suite of initial remedies

   that included: (1) dredging 215,000 cubic yards of sediment from about 130 acres of



   2During the Phase III Engineering Study, Amec Foster Wheeler became part of Wood
   Environment & Infrastructure Solutions, Inc. See ECF No. 964-2. For clarity, this brief
   refers to the Court-appointed engineering firm as Wood, its current name.
   3Wood also produced seventeen other reports and technical memoranda during the
   development of the Phase III Engineering Report that have been filed with the Court.
   See ECF Nos. 903, 944-45, 973-86. For ease of access, Wood’s full suite of reports, and the
   reports from Phases I and II, are on its project website:
   https://www.penobscotmercurystudy.com/information-repository.



                                                     7
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 13 of 39                 PageID #: 18897




   contaminated intertidal and marsh areas along the eastern bank of the River near

   Orrington and backfilling with clean sediment; (2) placing a thin-layer cap of clean

   sediment over about half of Mendall Marsh; (3) dredging 950,000 cubic yards of

   contaminated sediment and wood waste from five “surface deposits” where mobile

   sediments accumulate near Frankfort Flats, in the Orland River, and east of Verona

   Island; and (4) long-term monitoring of sediment, water, and biota at three-year

   intervals for 45 years or more. Id. at ES-3—ES-7. Wood also recommended two potential

   adaptive management options: placing clean sediment in the Orland River to be

   distributed naturally, a remediation strategy called enhanced monitored natural

   recovery (EMNR), or dredging about 1.8 million cubic yards of contaminated sediment

   from the Orland River and areas on the northeast and east sides of Verona Island. Id. at

   ES-7—ES-9.

          Wood estimated that its initial suite of remedies would cost about $246 to $333

   million. Id. at ES-9—ES-10. If needed, the adaptive management options would cost $25

   million for EMNR or $496 to $676 million for dredging. Id. at Table 8-2. Consistent with

   standard engineering practices, Wood’s cost estimates had a target accuracy range of

   plus 50 percent to minus 30 percent. Id. at ES-9. As a result, the full range of potential

   costs for Wood’s initial remedies is about $172 to $500 million, and the cost of the

   adaptive management remedies could be up to an additional $1 billion.

          F.     Post-Phase III Study discovery and pre-trial work

          In late 2018 and 2019 the Parties conducted extensive discovery to prepare for a

   trial regarding Wood’s remediation recommendations. The Parties identified 64


                                                 8
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 14 of 39               PageID #: 18898




   potential witnesses for trial, and discovery included depositions of the Parties’ expert

   and fact witnesses, several state agency officials, and many of the Wood experts and

   contractors who conducted the Phase III Engineering Study, some of whom were

   deposed twice. See ECF Nos. 987, 996, 998, 1007. Unsurprisingly, the various witnesses

   had diverging views on Wood’s Phase III Engineering Study and teed up a multitude of

   complex scientific and engineering disputes for trial. Plaintiffs’ witnesses generally

   supported Wood’s remediation recommendations or opined that more remediation was

   justified, Mallinckrodt’s witnesses generally opined that less or no remediation was

   justified, and Wood witnesses generally stood by their recommendations.

          G.     Settlement negotiations

          Prior to the conclusion of the Phase III Engineering Study, in April 2018, the

   Parties agreed to extend the schedule for the completion of the Study, in part to allow

   time for settlement discussions. See ECF No. 967-1 at 2. In November 2019, when

   discovery was nearly complete, the Parties asked to postpone the scheduled trial to

   focus on settlement negotiations. See ECF No. 1041. The Parties continued to negotiate

   through mid-2020. ECF Nos. 1050, 1060, 1065, 1066, 1068. In July 2020, the Parties

   requested a judicial settlement conference, ECF No. 1073, which led to a full-day

   settlement conference with Magistrate Judge Nivison on September 29, 2020. ECF Nos.

   1077, 1082. The settlement conference continued on October 15, 2020. ECF No. 1084. On

   November 6, 2020, the Parties informed the Court that they anticipated that they would

   be able to agree on a settlement by January 2021. ECF No. 1090. After some further




                                                9
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 15 of 39               PageID #: 18899




   extensions of the schedule, the Parties ultimately agreed upon and filed the Proposed

   Consent Decree on March 19, 2021. See ECF Nos. 1107, 1113, 1114.

         H.     Summary of Proposed Consent Decree

         The Proposed Consent Decree would require Mallinckrodt to provide at least

   $187 million in private funding—and up to $267 million if certain contingencies are

   triggered—for active remediation in the River and beneficial environmental projects.

   Proposed Consent Decree (“Proposed CD”), ECF No. 1114-1, ¶ 18. It would provide for

   four categories of active remediation actions, plus long-term monitoring. This structure

   is modeled on, but not identical to, Wood’s recommendations. The work would be

   administered and managed by an experienced, independent trustee firm.

         First, in the Orrington Reach, about 130 acres of intertidal sediment, primarily on

   the east side of the River, would be capped. Id. ¶ 10(a). The capping would place clean

   sediment over the contaminated sediment to create a barrier between contamination

   and the water column or biota. Id. ¶ 1(e). Mallinckrodt would commit $50 million for

   this capping, to fund remedy design, permitting, implementation, monitoring, and

   maintenance. Id. ¶ 10(a). If the cost of this capping exceeds $50 million, Mallinckrodt

   would pay up to an additional $10 million. Id. ¶ 10(b).

         Second, to address mercury-laden mobile sediments and surface deposits, $70

   million in settlement funds would be used to dredge and remove contaminated mobile

   matter from the Estuary. Id. ¶ 11(a). The $70 million would fund delineation, design,

   permitting, implementation, and remedy-specific monitoring. Id. The specific amounts

   and locations of material to be dredged would be determined during the delineation


                                               10
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 16 of 39                   PageID #: 18900




   and design process. If possible, material removed from the Estuary would be

   beneficially reused for upland construction, infrastructure, or other projects, rather than

   being deposited in a landfill. Id. ¶¶ 11(b), 1(c). However, if some or all of the material

   must be disposed in a landfill, Mallinckrodt would pay up to an additional $50 million

   for those disposal costs. Id. ¶ 11(b).

          Third, in the Orland River and eastern channel around Verona Island (East

   Channel), the Proposed Consent Decree would commit $30 million for remediation. Id.

   ¶ 12(a). The Proposed Consent Decree does not prescribe a particular remedy for this

   area, but rather would fund remedy selection, design, implementation, and remedy-

   specific monitoring for whatever remedy the Trustee ultimately selects. Id. Possible

   remedies include enhanced monitored natural recovery (EMNR), capping, dredging, or

   some combination of these activities. Id. ¶ 12(b); see also id. ¶ 1(p).

          Fourth, the Proposed Consent Decree would commit $20 million for Beneficial

   Environmental Projects that would provide tangible benefits to affected communities or

   the environment and are intended to mitigate or offset harm caused by mercury

   contamination in the River. Id. ¶¶ 1(b); 13(a)-(b). Subject to the agreement of authorized

   state and federal agencies, some of these projects also may be used to satisfy or offset

   natural resource damages claims against Mallinckrodt. Id. ¶¶ 1(nn), 13(b).

          If any funding allocated to a particular remedy is not used, the remaining funds

   would be redeployed to supplement other remedies or fund additional Beneficial

   Environmental Projects. Id. ¶ 17. Such remaining funding may be available for

   reallocation if the cost of a particular remedy is less than anticipated or if it is


                                                 11
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 17 of 39                 PageID #: 18901




   determined that implementation of some or all of a particular remedy is not feasible. See

   id. ¶¶ 1(q), 1(ll), 10(a), 11(a), 12(a), 17(a), 39.

          In addition to the active remedies, the Proposed Consent Decree would commit

   $10 million for long-term monitoring. Id. ¶ 14(a). Monitoring would take place at three-

   year intervals for a minimum of 30 years and a maximum of 45 years. Id. Mallinckrodt

   would provide up to an additional $10 million if the costs of long-term monitoring

   exceed $10 million. Id. ¶ 14(b). After the initial 30 years, the ultimate duration of the

   long-term monitoring program would be determined based on various factors

   including measured mercury concentrations, trends in mercury concentrations, input

   from regulatory agencies, and the then-current science regarding mercury risks. Id.

   ¶ 14(c).

          To carry out the remediation work, the Proposed Consent Decree would

   establish two trusts: the Penobscot Estuary Mercury Remediation Trust (Remediation

   Trust), and the Penobscot Estuary Beneficial Environmental Projects Trust (Project

   Trust). Id. ¶ 21. The two trusts would hold the remediation funds and carry out the

   remediation outlined in the Proposed Consent Decree. Id. The Remediation Trust would

   be responsible for most of the work. Id. ¶ 22(b). The Project Trust would only carry out

   Beneficial Environmental Projects, including those projects that may qualify as

   “Restoration Projects” because they could help to satisfy separate natural resource

   damages claims against Mallinckrodt. Id. ¶¶ 1(nn), 13, 23(b).

          The Parties have selected Greenfield Environmental Trust Group to serve as the

   Trustees of the Remediation and Project Trusts. See id. ¶¶ 25(a), (b). Greenfield is a


                                                     12
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 18 of 39                    PageID #: 18902




   professional service provider and fiduciary with over 30 years of experience that

   manages complex environmental remediation projects at hundreds of sites around the

   country. See Greenfield Env’t Trust Grp., https://greenfieldenvironmental.com (last

   visited Sept. 23, 2021). The Proposed Consent Decree would commit $7 million for

   project administration costs, and up to an additional $10 million if needed. Proposed

   CD ¶ 15(a).4

   III.   Standard of Review

          When reviewing a consent decree, a court “must . . . ensure that it is ‘fair,

   adequate, and reasonable; that the proposed decree will not violate the Constitution, a

   statute or other authority; [and] that it is consistent with the objectives of Congress.’”

   City of Bangor v. Citizens Commc’ns Co., 532 F.3d 70, 93 (1st Cir. 2008) (alteration in

   original) (quoting Conservation Law Found. of New England, Inc. v. Franklin, 989 F.2d 54,

   58 (1st Cir. 1993)); Emhart Indus., Inc. v. U.S. Dep’t of the Air Force, 988 F.3d 511, 523 (1st

   Cir. 2021).

          Because caselaw on RCRA consent decrees is sparse, the Court may wish to draw

   guidance from cases reviewing the fairness of consent decrees under the

   Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA),

   42 U.S.C. § 9601 et seq. Although CERCLA is not the basis for any claim in this case,

   CERCLA caselaw generally provides an appropriate standard of review to inform



   4 Mallinckrodt has also moved for a bar order, ECF No. 1116, and, on September 21,
   filed an amended motion for a bar order. ECF No. 1151. Plaintiffs will brief in normal
   course the issues raised by Mallinckrodt’s amended motion.



                                                  13
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 19 of 39                   PageID #: 18903




   judicial review of RCRA consent decrees. See City of Bangor v. Citizen Commc’ns Co., No.

   02-cv-183-B-S, 2007 WL 1557426, at *6 (D. Me. May 25, 2007), aff’d 532 F.3d 70.

          When evaluating the fairness of consent decrees under CERCLA, courts consider

   the procedural and substantive fairness of the decree. “To measure procedural fairness,

   a court should ordinarily look to the negotiation process and attempt to gauge its

   candor, openness, and bargaining balance.” United States v. Cannons Eng’g Corp., 899

   F.2d 79, 86 (1st Cir. 1990). Determining substantive fairness of a consent decree involves

   the consideration of “corrective justice and accountability: a party should bear the cost

   of the harm for which it is legally responsible.” Id. at 87. However, assuming that the

   negotiation process is fair, courts generally “treat private parties in . . . settlement cases

   as entities who can protect themselves.” City of Bangor, 532 F.3d at 98. “There is little

   need for a court to police the substantive fairness of a settlement as among settling

   parties” because “[s]ophisticated actors know how to protect their own interests, and

   they are well equipped to evaluate risks and rewards.” United States v. Charles George

   Trucking, Inc., 34 F.3d 1081, 1088 (1st Cir. 1994); see also Durrett v. Housing Auth. of

   Providence, 896 F.2d 600, 604 (1st Cir. 1990) (“[A] district court’s discretion is restrained

   by the clear policy in favor of encouraging settlements.” (internal quotation marks and

   citation omitted)). Also, “procedural and substantive fairness are not entirely discrete

   concepts; it is ‘appropriate’ . . . ‘to consider the adequacy of the process’ in evaluating

   substantive fairness.” Emhart Indus., Inc., 988 F.3d at 529 n.10 (quoting Cannons Eng’g

   Corp., 899 F.2d at 87 n.4).




                                                 14
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 20 of 39               PageID #: 18904




          Courts consider at least three factors to decide whether a consent decree is

   adequate and reasonable under CERCLA: (1) “the decree’s likely efficaciousness as a

   vehicle for cleansing the environment;” (2) “whether the settlement satisfactorily

   compensates the public for the actual (and anticipated) costs of remedial and response

   measures;” and (3) “the relative strength of the parties’ litigating positions.” Cannons

   Eng’g Corp., 899 F.2d at 89-90; City of Bangor, 532 F.3d at 94 (describing adequacy as

   “ensur[ing] a proper cleanup” of the contamination). However, unlike CERCLA,

   “RCRA’s citizen suit provision is not directed at providing compensation for past

   cleanup efforts.” Meghrig v. KFC W., Inc., 516 U.S. 479, 484 (1996). Consistent with

   RCRA’s purpose, rather than considering compensation for past costs, the second

   reasonableness factor should examine whether a RCRA settlement satisfactorily funds

   anticipated remedial costs and “provide[s] a remedy that ameliorates present or

   obviates the risk of future ‘imminent’ harms,” id. at 486.

          In addition, the Court previously outlined five evaluation criteria that bear on

   the adequacy and reasonableness of the Proposed Consent Decree: “(1) whether the

   proposed solution has been successfully attempted previously or is innovative; (2) the

   likely cost of the solutions; (3) the length of time to complete the recommendations; (4)

   the likely effectiveness of the solution; and (5) any potential environmental harm that

   may be caused by the proposed solution.” Order on Remediation Plan, ECF No. 829 at

   59.

          Finally, courts consider a consent decree’s consistency with relevant statutory

   objectives, the evaluation of which often overlaps with the inquiries into fairness and


                                               15
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 21 of 39               PageID #: 18905




   reasonableness. Cannons Eng’g Corp., 899 F.2d at 90. The primary purpose of RCRA is

   “to minimize the present and future threat to human health and the environment”

   posed by hazardous waste. Meghrig, 516 U.S. at 483 (citing 42 U.S.C. § 6902(b)).

   IV.    The Proposed Consent Decree should be approved

          The testimony and exhibits at the Fairness Hearing, along with the Court’s prior

   decisions and documents already filed in this case, will demonstrate that the Proposed

   Consent Decree is fair, fulfills the purposes of RCRA, and presents an adequate and

   reasonable resolution of the remaining scientific and engineering issues presented by

   this case. After more than two decades of contentious litigation, the Proposed Consent

   Decree would finally implement targeted, concrete actions to abate a half-century of

   public health and environmental endangerment.

          A.     The Proposed Consent Decree is fair

          The Proposed Consent Decree is both procedurally and substantively fair.

   Procedurally, the Parties reached the Proposed Consent Decree following extensive

   arm’s length negotiations over a three-year period, capped by over a year of focused

   negotiations that included a productive judicial settlement conference. After agreeing in

   principle to settlement terms, the Parties spent many additional months finalizing all

   the details. See supra Section II(G). The length and extent of these negotiations, between

   sophisticated and long-represented Parties, demonstrates procedural fairness. See

   Cannons Eng’g Corp., 899 F.2d at 86.

          The Proposed Consent Decree is also substantively fair. It balances the Parties’

   goals and risks and finds a middle path that will accelerate recovery of the Estuary,



                                               16
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 22 of 39                   PageID #: 18906




   which has been Plaintiffs’ core objective since they filed suit. See ECF No. 1 at 16. After

   more than 20 years, the Proposed Consent Decree would achieve that goal and allow

   remediation to proceed without further litigation risks, costs, and delays. In addition,

   the Proposed Consent Decree would satisfy Plaintiffs’ interests in “corrective justice and

   accountability” by ensuring that Mallinckrodt, which has been held liable, would “bear

   the cost of [remedying] the harm for which it is legally responsible.” Cannons Eng’g

   Corp., 899 F.2d at 87. For Mallinckrodt, the Proposed Consent Decree would provide

   certainty concerning the extent of its financial obligations in this case and avoid

   litigation risks and costs. In short, the Parties have succeeded in “protect[ing] their own

   interests,” and “[t]here is little need for [the] court to police the substantive fairness of

   [the] settlement as among [the] settling parties.” Charles George Trucking, 34 F.3d at 1088.

          B.     The Proposed Consent Decree is consistent with RCRA’s remedial
                 purpose

          The Proposed Consent Decree would fulfill RCRA’s purpose by “minimiz[ing]

   the present and future threat to human health and the environment” posed by mercury

   contamination in the Penobscot River Estuary. Meghrig, 516 U.S. at 483 (citing 42 U.S.C.

   § 6902(b)). As discussed in detail below, it would provide a reasonable, adequate, and

   effective “remedy that ameliorates present or obviates the risk of future ‘imminent’

   harms.” Id. at 486 (quoting 42 U.S.C. § 6972(a)(1)(B)).

          C.     The Proposed Consent Decree is reasonable and adequate

          The Proposed Consent Decree, as a whole and in its individual components, is

   reasonable and adequate. It accounts for and balances the Court’s remedy evaluation




                                                 17
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 23 of 39               PageID #: 18907




   factors and would create a much-needed remediation program that is effective, cost-

   effective, timely, safe, and designed to earn public trust and confidence.

                 1.     Targeted active remediation is necessary

           Active remediation of mercury contamination in the Penobscot River Estuary is

   long overdue. In 2013, after nine years of Court-ordered scientific study, the Study

   Panel recommended an active remediation program because of the continuing risks to

   biota and human consumers and the slow rate of recovery in the Estuary. See Order on

   Remediation Plan, ECF No. 829 at 9-10. Sediment and biota data from the Phase III

   Engineering Study show that the dangerous conditions underlying the Study Panel’s

   recommendation have not changed materially. Some sampled species of wildlife have

   shown tepid (and perhaps temporary) recovery, other species show no change, and still

   others show increased mercury concentrations. Phase III Report, ECF No. 972 at 3-37.

   And the rate of natural recovery in sediments, already slow, is slowing down. Id. at

   3-31.

           The Court charged Wood, the independent engineering firm recommended by

   the Parties and the Special Master, to “endors[e] a remedial plan or plans, or explain[]

   why, in the firm’s expert judgment, there is no viable remedy.” ECF No. 836 at 4. After

   nearly three years of studies and evaluations, Wood answered by recommending a suite

   of targeted, active remedies intended to “balance viability, effectiveness, and cost-

   effectiveness.” Phase III Report, ECF No. 972 at 8-1. In doing so, Wood considered and

   rejected alternatives at both ends of the remediation spectrum. The firm did not

   recommend system-wide monitored natural recovery (essentially, waiting for the


                                               18
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 24 of 39                 PageID #: 18908




   ecosystem to cleanse itself) because, without active intervention, it would take at least

   45 to 100 years to meet Wood’s risk-based remediation goals for the Estuary. Id. at 8-4.

   Wood also did not recommend system-wide dredging intended to meet the risk-based

   remediation goals as quickly as possible because of the anticipated duration (22 years or

   more), cost ($1.7 to $5.5 billion or more), and risk of harm to habitat and wildlife. Id. at

   8-5. Instead, after balancing these factors, the Court-appointed engineers recommended

   a moderate suite of remedies that would accelerate recovery of the ecosystem but was

   not anticipated to meet risk-based remediation goals immediately. See id. at 8-1.

   Specifically, Wood recommended that active remedies focus on targeted areas with

   unacceptable levels of risk, locations where materials enriched in mercury may

   accumulate or be eroded, and/or locations with the highest sediment mercury

   concentrations. Id.

          The Proposed Consent Decree would build on the foundation laid by the three

   phases of Court-ordered studies. Similar to the balance that Wood struck, it would

   target active remediation in specific parts of the Penobscot River Estuary where work is

   most likely to accelerate recovery and hasten abatement of the mercury endangerment.

                 2.      Orrington capping

          The Proposed Consent Decree would prescribe the capping of about 130 acres of

   intertidal areas in the Orrington Reach, mostly coves that are immediately downriver

   from the former plant site. Proposed CD ¶ 10(a). Consistent with Wood’s

   recommendations, these areas would be targeted because the sediments have some of

   highest average mercury concentrations in the Estuary, are a source of mercury to local


                                                19
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 25 of 39               PageID #: 18909




   biota, and may be a source of mercury to other areas through erosion. See Phase III

   Report, ECF No. 972 at 8-22 & Table 5-2.

          Capping is a proven remediation technology, employed successfully at sediment

   remediation sites worldwide. The cap would isolate and dilute the mercury-

   contaminated sediments, preventing and minimizing erosion and direct biota

   exposures. See Proposed CD ¶ 1(e). The Parties’ engineering experts will testify at the

   Fairness Hearing that a cap can be designed and implemented successfully in this

   region because, in part, the intertidal areas to be capped are peripheral zones that are

   not subject to the strongest currents in the main channel of the River. Compared to

   Wood’s recommendation of dredging with backfilling in these areas, capping offers

   similar remediation benefits but can be implemented faster and with lower costs.

   Capping also presents less risk of remobilizing contaminated sediments than dredging

   and avoids generating 215,000 cubic yards of sediments that would need to be disposed

   on land. Although the cap materials would bury the existing intertidal habitat, the

   mudflats are anticipated to reestablish relatively quickly on top of the cap, with

   minimal long-term environmental harm from the cap itself.

          The funding allocated to Orrington Reach capping—$50 million in Committed

   Funding and $10 million in Contingent Funding—is grounded in a conceptual design

   that estimated costs of about $29 to $54 million for this work. The Proposed Consent

   Decree funding would more than cover this cost range, and the contingency would

   ensure that funds are available for cap monitoring and maintenance, if needed, to

   sustain the integrity of the cap over time. See id. ¶ 10. The range of proposed funding is


                                               20
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 26 of 39               PageID #: 18910




   similar to the approximately $54 to $74 million that Wood proposed for dredging and

   backfilling this region, see Phase III Report, ECF No. 972 at Table 8-2.

          The precise length of time to design, obtain permits for, and implement the

   Orrington capping is not yet known, but there is every reason to believe that it can be

   completed within a reasonable period. For its proposed dredging remedy in this region,

   Wood estimated a total of five years: three years for design and permitting and two

   years for implementation. Id. at 8-26. Capping is a less complex remedy than dredging.

   But even if capping takes about five years or somewhat longer, the duration would be

   modest compared to the five decades and counting that the Estuary has been

   contaminated and Wood’s estimate that natural recovery would take at least another 45

   to 100 years.

                   3.   Mobile sediment and surface deposit removal

          The Proposed Consent Decree would fund dredging to remove a portion of the

   contaminated mobile sediments in the Estuary. Mercury-contaminated mobile

   sediments were first identified in the Phase II Study, which concluded that recirculation

   of these sediments explains the slow pace of natural recovery. See Order on

   Remediation Plan, ECF No. 829 at 44-46. The Phase III Engineering Report built on this

   insight. It identified additional mobile material (including large volumes of mercury-

   contaminated legacy wood waste from sawmills), located “surface deposits” where

   contaminated mobile sediment and wood waste particles accumulate at least seasonally

   in piles or layers on the riverbed one to six feet thick, and estimated that removing

   approximately 950,000 cubic yards of these materials could accelerate the Estuary’s


                                                21
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 27 of 39                PageID #: 18911




   recovery by about 20 years. Phase III Report, ECF No. 972 at ES-4—ES-5, 3-11, 3-26—

   3-28.

           The surface deposits are good targets for remediation because they contain

   materials with significantly elevated mercury concentrations and are likely to be mobile

   or prone to erosion and redistribution. See id. at 8-10, 8-14—8-15. Targeting some of

   them for removal is an efficient way to remove otherwise mobile sediments at locations

   where they naturally accumulate and is akin to hot spot removal—taking out smaller

   areas with especially high contaminant concentrations. Also, removing some of the

   surface deposits is expected to have broader benefits for the ecosystem. For example,

   removing the surface deposit at Frankfort Flats may reduce mercury transport into

   Mendall Marsh, an area of concern for birds, and removing contaminated mobile

   sediment from deposits on the eastern side of Verona Island may reduce mercury in the

   food web in upper Penobscot Bay, including in lobsters. See id. at ES-4, 8-8, 8-12, 8-20.

           Dredging is a proven remediation technology, used all over the world, and is not

   anticipated to cause long-term environmental harm in the Estuary. Id. at 8-11. The

   Proposed Consent Decree calls for the dredging of contaminated sediments that are

   already mobile or easily erodible, so the long-term benefits of removing these sediments

   to accelerate recovery outweigh any risks of increased short-term resuspension, which

   is already occurring naturally. All remediation work would be required to “minimize[]

   environmental risks and adverse impacts” and incorporate “monitoring and control

   measures to protect human health and the environment.” Proposed CD, Appx. A,

   Statement of Work ¶ 9(e)-(f), ECF No. 1114-2. For example, best management practices,


                                               22
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 28 of 39               PageID #: 18912




   such as using closed buckets, taking measures to limit spillage, and working during

   seasons when the most sensitive fish are reduced or absent can help to reduce

   resuspension of contaminated sediment and potential effects on biota during dredging.

   Phase III Report, ECF No. 972 at 8-11—8-12. As a further safeguard, all remediation

   work would go through normal federal, state, and local permitting and regulatory

   approval processes, ensuring that expert regulators approve the work and providing

   public opportunities to review and comment on specific remediation work designs once

   they are developed. See Proposed CD ¶¶ 16, 40.

          The Proposed Consent Decree allocates $70 million in Committed Funding for

   removal of mobile sediments and surface deposits, with beneficial reuse of the dredged

   materials. Proposed CD ¶ 11. Beneficial reuse—using the dredged materials as fill for

   upland construction or infrastructure projects—is preferred because it is less expensive

   and more sustainable than landfill disposal. See Wood, Alternatives Evaluation Report,

   ECF No. 985 at 6-9—6-10. However, if beneficial reuse is not possible for some or all of

   the materials, the Proposed Consent Decree would provide up to $50 million to pay for

   landfill disposal. Proposed CD ¶ 11. By allocating a total of $70 to $120 million for

   mobile sediment and surface deposit removal, rather than the estimated $107 to $175

   million for Wood’s recommended dredging, see Phase III Report, ECF No. 972 at Table

   8-2, the Proposed Consent Decree would narrow the scope of this remedy, allocating

   enough funding to accelerate recovery through this remedy but in a more targeted way.

          The Proposed Consent Decree does not specify exactly which surface deposits

   will be removed or how much mobile sediment will be removed, so it is not possible to


                                               23
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 29 of 39               PageID #: 18913




   predict the precise duration of this work. Additional design work is needed to better

   delineate the surface deposits and decide which to target for removal. See id. at 8-11,

   8-15. Wood projected that surface deposit dredging would take about seven years—

   three years for design and permitting and four years for implementation. Id. at 8-25.

   Even if the smaller amount of dredging contemplated by the Proposed Consent Decree

   takes a similar amount of time, or slightly longer, removing some of this material is a

   critical measure to help accelerate the system recovery. Such a timeline would be

   reasonable in light of the central role that mobile sediment plays in slowing the rate of

   natural recovery in the Estuary.

                 4.     Orland River and East Channel around Verona Island

          The Proposed Consent Decree would commit $30 million for remediation in the

   Orland River and East Channel around Verona Island. Proposed CD ¶ 12. This region

   has high mercury concentrations in surface sediments, it provides habitat for species of

   concern including black ducks, and remediation here is likely to accelerate recovery in

   upper Penobscot Bay, including the lobster fishery closure area. See Phase III Report,

   ECF No. 972 at 8-20 & Table 5-4. The ecological importance of remediation in this region

   is underscored by Wood’s recommendation to remove four surface deposits in this area

   and to focus both of Wood’s potential adaptive management remedies here. Id. at

   8-17—8-20 & Fig. 8-3.

          The Proposed Consent Decree, by design, leaves flexibility regarding the specific

   remediation actions in the Orland River and East Channel, which may include EMNR,

   capping, or dredging. Proposed CD ¶ 12(b). EMNR is an innovative technique


                                               24
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 30 of 39                 PageID #: 18914




   somewhat like thin layer capping, in which clean sediment would be added and

   allowed to disperse naturally to mix with, dilute, and bury contaminated sediment.

   Phase III Report, ECF No. 972 at ES-8—ES-9, 8-18—8-19. Although EMNR requires

   further testing to determine whether it would be effective, it offers the possibility of a

   lower impact remedy that would be faster, easier, and less expensive to implement. Id.;

   see id. at 8-27. If EMNR is not viable for any reason, the proven technologies of capping

   or dredging could be employed in this region instead, possibly in concert with surface

   deposit dredging. See Proposed CD ¶ 12(b).

          The $30 million in funding for remediation in the Orland River and East Channel

   is enough to test EMNR and then implement it at full scale or have a substantial sum

   available for other remedies. Wood estimated that EMNR pilot studies would cost

   about $10 million and full-scale implementation would cost about $15 million. Id. at 8-

   27 & Table 8-2. So, even after testing EMNR, approximately $20 million would be

   available for active remediation. The duration of remedies in the Orland River and East

   Channel will be uncertain until specific remedies are selected but, for EMNR, Wood

   estimated about seven years—four years for design and permitting and three years for

   implementation—which is similar to the duration of other recommended remedies. Id.

   at 8-27.

                 5.     Beneficial environmental projects

          The Proposed Consent Decree would commit $20 million for Beneficial

   Environmental Projects that provide tangible environmental or public benefits to

   affected communities and the environment. Proposed CD ¶¶ 1(b), 13. Beneficial


                                                25
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 31 of 39               PageID #: 18915




   Environmental Projects may include Tidal Marsh Projects that restore, enhance, or

   preserve tidal marshes in Maine or provide benefits to the avian species that use

   Mendall Marsh. Id. ¶¶ 1(vv), 13(b). They may also include Restoration Projects that help

   satisfy separate natural resource damage claims against Mallinckrodt. Id. ¶ 1(nn). Credit

   for any such Restoration Projects would be negotiated between Mallinckrodt and the

   state and federal agencies that serve as Natural Resource Damage Trustees. Id. ¶¶ 1(z),

   1(nn), 32(c). The Proposed Consent Decree explicitly leaves undisturbed the full

   discretion of the state and federal Trustees to seek natural resource damages from

   Mallinckrodt. Id. ¶ 32(c)(ii).

          The Proposed Consent Decree departs from Wood’s recommendation of thin-

   layer capping in Mendall Marsh and would not require any specific remedies in

   Mendall Marsh. However, the Beneficial Environmental Projects provision in the

   Settlement would allow flexibility for projects in Mendall Marsh or in other places that

   would benefit the wildlife that uses Mendall Marsh. See id. ¶¶ 1(b), 1(vv), 13(b). As the

   Court recognized in 2015, the Parties and their experts have strongly held, diverging

   positions regarding the severity of mercury contamination in Mendall Marsh and what,

   if anything, to do about it. See Order on Remediation Plan, ECF No. 829 at 47-51.

   Mendall Marsh is also a state wildlife management area, id. at 47, and Wood noted that,

   given its ecological sensitivity, there may be permitting limitations or mitigation

   requirements for work in the Marsh, Phase III Report, ECF No. 972 at 8-10. Wood

   recommended about $7.5 million in pilot testing prior to a full-scale remedy, see id.

   Table 8-2, which creates a risk that substantial funds could be expended on pilot tests


                                               26
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 32 of 39                  PageID #: 18916




   but yield no substantial remediation benefits if a full-scale remedy is not permitted. The

   Parties’ agreement to fund Beneficial Environmental Projects is a reasonable

   compromise and provides a path through this thicket of complexities and conflicting

   positions that will ensure that remediation funds are spent on effective, practical

   projects that provide tangible, verifiable, near-term benefits to the affected environment.

   Based on publicly available data regarding wetland projects in Maine, $20 million is

   anticipated to fund many substantial Beneficial Environmental Projects.5

                 6.     Long-term monitoring

          The Proposed Consent Decree would commit $10 million for 30 to 45 years of

   triennial long-term monitoring, with an additional $10 million in Contingent Funding if

   needed. Proposed CD ¶ 14. Long-term monitoring of mercury concentrations in biota,

   sediments, and water is essential to provide information about mercury contamination

   trends in the Estuary and assess the long-term results of active remediation.6 The need

   for long-term monitoring is undisputed, having been recommended by the Study Panel,



   5 See, e.g., Maine Natural Resource Conservation Program (MNRCP), Fixing Furbish
   Phase I, http://mnrcp.org/node/5222 (last accessed Sept. 18, 2021) (describing a tidal
   marsh restoration project to improve habitat for saltmarsh sparrows and total costs of
   $202,550); MNRCP, Past Projects, http://mnrcp.org/past-projects (last accessed Sept.
   18, 2021) (listing dozens of wetland restoration, enhancement, and preservation projects
   in Maine with costs ranging from $6,342 to $495,000 per project). The Court may take
   judicial notice of these cost data consistent with Federal Rule of Evidence 201(b). See
   Calvary Chapel of Bangor v. Mills, 459 F. Supp. 3d 273, 281 & n.10 (D. Me.), appeal
   dismissed, 984 F.3d 21 (1st Cir. 2020) (taking judicial notice of facts from a State website).
   6Each active remedy would also include remedy-specific monitoring during and after
   implementation to track immediate effects. Proposed CD ¶¶ 1(t), 10(a), 11(a), 12(a);
   Proposed CD Appx. A, Statement of Work ¶¶ 9(f), 31(e), ECF No. 1114-2.



                                                 27
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 33 of 39               PageID #: 18917




   Wood, and the Parties. Phase II Report Ch. 13; Phase III Report, ECF No. 972 at 8-28—

   8-36; Order on Remediation Plan, ECF No. 829 at 38. Most recently, Wood

   recommended triennial monitoring for at least 45 years at an estimated cost of about $25

   million. Phase III Report, ECF No. 972 at 8-31 & Table 8-2. The Parties’ proposed long-

   term monitoring is similar in duration and potential cost but leaves flexibility to adjust

   the specific duration depending on future data and monitoring needs and anticipates

   that some cost efficiencies will be possible.

                 7.     The trusts and project administration

          The Proposed Consent Decree would be implemented through independent

   trusts managed by trustee entities affiliated with Greenfield Environmental Trust

   Group. Proposed CD ¶¶ 21, 25. The independence of the trusts and trustees will help to

   secure public trust in the remediation process. See Order on Remediation Plan, ECF No.

   829 at 58.

          Greenfield has over 30 years of experience managing and directing complex

   environmental cleanups, is responsible for hundreds of sites nationwide, and has over

   $1 billion in remediation funds under its management. See Greenfield Env’t Trust Grp.,

   https://greenfieldenvironmental.com (last visited Sept. 23, 2021). The firm manages

   other sediment remediation projects in and adjacent to tidal rivers and creeks, and

   Greenfield’s proposed project manager has extensive experience with sediment

   remediation. As a trustee and fiduciary, Greenfield will manage the trusts and

   remediation funding and will direct the remediation work at a high level. For specific

   design and implementation work, the trusts will contract with specialized experts,


                                                   28
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 34 of 39                 PageID #: 18918




   contractors, and consultants to ensure that the work is carried out by qualified,

   experienced professionals. See Proposed CD ¶¶ 22(b), 23(b), 38. To mitigate the effects

   of inflation on the funding for remediation projects that will span multiple years—and

   monitoring that will span decades—Greenfield will also responsibly invest trust assets

   that are not yet allocated to near-term work.7 Id. ¶ 24(d)

          Experienced, cost-effective project administration is critical to the success of the

   proposed remedies. In general, project management costs are about 4 to 6 percent of

   remediation costs. See Phase III Report, ECF No. 972 at Table 8-2 (estimating these costs

   at 5 percent). The total remediation costs in the Proposed Consent Decree are $180 to

   $250 million. Applying the 4 to 6 percent range yields estimated project administration

   costs of $7.2 to $15 million. To pay for these essential services, the Proposed Consent

   Decree allocates up to $17 million: $7 million in Committed Funding, with up to $10

   million more if needed. Proposed CD ¶ 15(a).

                 8.     The Parties’ proposed remediation program strikes a reasonable
                        balance

          The Proposed Consent Decree reasonably balances the Parties’ competing

   interests. Each side bears litigation risk, and further contention would consume

   valuable time and money better spent on active remediation. The specific measures

   embedded in the Proposed Consent Decree represent compromises: there would be



   7Mallinckrodt would pay all of the Committed Funding to the trusts within seven
   years, or sooner if needed, to ensure that the purchasing power of the funding is not
   materially diminished by inflation prior to receipt by the trusts. Proposed CD ¶ 19.
   Mallinckrodt’s future payments would be secured by a surety bond. Id. ¶ 20.



                                                29
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 35 of 39              PageID #: 18919




   capping instead of dredging in the Orrington Reach; there would be targeted, not

   widespread, dredging of mercury-infused surface deposits; there would be beneficial

   projects rather than a thin-layer cap covering half of Mendall Marsh. In each instance,

   there is a remedy that is somewhat less than what Plaintiffs would like and more than

   what Defendant would like.

          Taken as a whole, the costs and scope of the Proposed Consent Decree reflect a

   reasonable balance. After accounting for cost estimate uncertainties, Wood’s initial

   remedies could cost about $172 million to $500 million, and its adaptive management

   remedies could add up to about $1 billion more. Phase III Report, ECF No. 972 at ES-9 &

   Table 8-2. The Proposed Consent Decree would commit at least $187 million, and up to

   $267 million, for remediation work in the Estuary, in addition to over $30 million

   already spent on prerequisite scientific and engineering studies. This represents a

   reasonable compromise—brokered by a Magistrate Judge—between Plaintiffs’ interest

   in securing sufficient funding to abate the endangerment in the Estuary and

   Mallinckrodt’s interests in minimizing cost and achieving a degree of financial

   certainty.

          The balanced terms of the Proposed Consent Decree follow a central command of

   RCRA: They compel the defendant to “provide a remedy that ameliorates” the risks and

   harms in the Estuary caused by Mallinckrodt’s mercury discharges, Meghrig, 516 U.S. at

   486, and, by ensuring that the remediation costs are not borne by the public, they

   “compensate[] the public for the [anticipated] costs of remedial and response

   measures,” Cannons Eng’g Corp., 899 F.2d at 90.


                                              30
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 36 of 39                    PageID #: 18920




          D.      Injunctive relief continues to be justified

          RCRA evinces “a congressional thumb on the scale in favor of remediation”

   when considering equitable remedies. Order on Remediation Plan, ECF No. 829 at 34

   (quoting Maine People’s All. v. Mallinckrodt, Inc., 471 F.3d 277, 297 (1st Cir. 2006)). To the

   extent that the Court’s endorsement of the Proposed Consent Decree would be a form

   of injunctive relief, see, e.g., Healey v. Spencer, 765 F.3d 65, 75 (1st Cir. 2014) (“A consent

   decree is both a settlement and an injunction.”), the four-part injunction test is easily

   met, largely for the same reasons the Court set forth in 2015. See Order on Remediation

   Plan, ECF No. 829 at 39-57; Maine People’s All., 471 F.3d at 296 (setting out injunction

   factors).

          The Court held in 2015 that “the Penobscot River estuary continues to suffer

   irreparable injury from ongoing mercury contamination caused by Mallinckrodt.”

   Order on Remediation Plan, ECF No. 829 at 54. The facts underlying that conclusion—

   including the extent and severity of mercury contamination and the slow rate of natural

   recovery—have not changed materially since 2015. See infra Section IV(C)(1). Likewise,

   there continues to be no adequate remedy at law. See Order on Remediation Plan, ECF

   No. 829 at 55-56. Although the Proposed Consent Decree would commit funds for

   remediation, the funding provides effective relief only as part of the prescribed

   remediation program. By agreeing to the Proposed Consent Decree, the Parties have

   already balanced any hardships themselves. And the public continues to have “an

   obvious and compelling interest in reducing mercury contamination in the Penobscot

   River.” Id. at 56.


                                                  31
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 37 of 39                   PageID #: 18921




   V.     Conclusion

          In the First Circuit, “[o]nce liability has been found, equitable relief in RCRA

   citizen suits is largely in the informed discretion of the trial court.” Maine People’s All.,

   471 F.3d at 298. The Proposed Consent Decree is a fair, adequate, and reasonable

   resolution of more than two decades of complex litigation. It is the result of persistent,

   laborious, arm’s length negotiations between sophisticated parties. It vindicates the

   essential purpose of the RCRA citizen suit provision and is a resounding victory for the

   people of Maine, committing a massive sum of private funds to abate severe,

   longstanding harm to a precious public resource. Plaintiffs respectfully urge the Court

   to approve the Proposed Consent Decree.




                                                 32
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 38 of 39      PageID #: 18922




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                                       33
Case 1:00-cv-00069-JAW Document 1157 Filed 09/24/21 Page 39 of 39                 PageID #: 18923




                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 24, 2021, I electronically filed Plaintiffs’

   Prehearing Brief with the Clerk of Court using the CM/ECF system, which will send

   notification of such filing to all counsel of record in the above‐captioned matter.


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                                                34
